 Case 21-10514-SLM             Doc 45-3 Filed 04/06/21 Entered 04/06/21 16:03:15            Desc
                                Certificate of Service Page 1 of 2



 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-1(b)
 Edmond M. George, Esquire
 Turner N. Falk, Esquire
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 Mount Laurel, NJ 08054
 (856) 795-3300
 (856) 482-0504 (fax)
 edmond.george@obermayer.com
 Turner.Falk@obermayer.com
 Counsel for Debtor, Stephen Norman Weiss
 In re:
                                                               Chapter 7
 STEPHEN NORMAN WEISS,
                                                               Case No. 21-10514-SLM
                                  Debtor.                      Hon. Stacey L. Meisel


                                 CERTIFICATION OF SERVICE

1.       I, Turner N. Falk:
            represent the Debtor in this matter.
             am the secretary/paralegal for ____________________, who represents the
         _______________ in this matter.
             am the ______________________ in this case and am representing myself.
2.       On April 6, 2021, I sent a copy of the following pleadings and/or documents to the parties
         listed in the chart below:
                       1. Debtor’s Response in Opposition to Objection to Claimed Exemptions

3.       I hereby certify under penalty of perjury that the above documents were sent using the
         mode of service indicated.

         Dated: April 6, 2021                  /s/ Turner N. Falk
                                                       Signature




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Name and Address of Party Served             Relationship of                 Mode of Service
                                            Party to the Case
United States Trustee                         U.S. Trustee          Hand-delivered
Office of the United States Trustee                                 Regular mail
One Newark Center                                                   Certified mail/RR
1085 Raymond Boulevard                                              Other Electronic Means Rule 5005-1____
Suite 2100                                                      (As authorized by the Court or by rule. Cite
                                                                rule if applicable)
Newark, NJ 07102
c/o Scott Rever, Esq.                      Counsel for Donald       Hand-delivered
GENOVA BURNS, LLC                          Biase as Chapter 7       Regular mail
110 Allen Road, Suite 304                       Trustee             Certified mail/RR
Basking Ridge, New Jersey 07920                                     Other Electronic Means Rule 5005-1____
                                                                (As authorized by the Court or by rule. Cite
                                                                rule if applicable)
c/o John Baranello, Esq.                        Creditor            Hand-delivered
Moses & Singer LLP                                                  Regular mail
Court Plaza South – East Wing                                       Certified mail/RR
21 Main Street, Suite 101                                           Other Electronic Means Rule 5005-1____
                                                                (As authorized by the Court or by rule. Cite
Hackensack NJ 07601
                                                                rule if applicable)




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